           Case 6:22-cv-00855-FB Document 5 Filed 08/16/22 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


SONRAI MEMORY LTD.

                      Plaintiff,                 Case No. 6:22-cv-00855

              v.                                 JURY TRIAL DEMANDED


MICRON TECHNOLOGY, INC.,

                      Defendant.



                       PLAINTIFF’S NOTICE OF RELATED CASES

       Plaintiff Sonrai Memory Ltd. (“Plaintiff” or “Sonrai”) hereby notifies the Court that the

following related cases are pending in the Western District of Texas:

       1. Sonrai Memory Limited v. LG Electronics Inc. et al., Case No. 6:21-cv-00187-ADA;

       2. Sonrai Memory Limited v. Google LLC, Case No. 6:22-cv-00336-ADA-DTG;

       3. Sonrai Memory Limited v. Kingston Technology Company, Inc. et al., Case No. 6:21-

           cv-01284-ADA;

       4. Sonrai Memory Limited v. Western Digital Technologies, Inc., Case No. 6:21-cv-

           01168-ADA;

       5. Sonrai Memory Limited v. KIOXIA Corporation f/k/a Toshiba Memory Corporation et

           al., Case No. 6:21-cv-00400-ADA;

       6. Sonrai Memory Limited v. Apple Inc., Case No. 6:21-cv-00401-ADA;

       7. Sonrai Memory Limited v. Dell Technologies, Inc., Case No. 1:22-cv-00487-LY;

       8. Sonrai Memory Limited v. Dell Technologies, Inc., Case No. 6:22-cv-00188-ADA;
           Case 6:22-cv-00855-FB Document 5 Filed 08/16/22 Page 2 of 2




       9. Sonrai Memory Limited v. Kingston Technology Company, Inc. et al., Case No. 6:22-

           cv-00192-ADA; and

       10. Sonrai Memory Limited v. Apple Inc., Case No. 6:22-cv-00747-ADA.


       Sonrai further notifies the Court that the following related cases have recently been

dismissed from this Court:

       11. Sonrai Memory Limited v. Samsung Electronics Co., Ltd. et al., Case No. 6:21-cv-

           00169-ADA;

       12. Sonrai Memory Limited v. Samsung Electronics Co., Ltd. et al., Case No. 6:22-cv-

           00189-ADA; and

       13. Sonrai Memory Limited v. Amazon.com, Inc., Case No. 6:22-cv-00225-ADA.




Dated: August 16, 2022                     Respectfully submitted,
                                           /s/ Reza Mirzaie

                                           Reza Mirzaie (CA SBN 246953)
                                           rmirzaie@raklaw.com
                                           Amy E. Hayden (CA SBN 287026)
                                           ahayden@raklaw.com
                                           James A. Milkey (CA SBN 281283)
                                           jmilkey@raklaw.com
                                           Christian W. Conkle (CA SBN 306374)
                                           cconkle@raklaw.com
                                           Jonathan Ma (CA SBN 312773)
                                           jma@raklaw.com
                                           RUSS AUGUST & KABAT
                                           12424 Wilshire Blvd. 12th Floor
                                           Los Angeles, CA 90025
                                           Phone: (310) 826-7474
                                           Facsimile: (310) 826-6991

                                           Attorneys for Plaintiff Sonrai Memory Ltd.



                                              2
